B 2100A (Form 2100A) (12/15)



                         UNITED STATES BANKRUPTCY COURT
                                                 Middle District
                                            __________  DistrictofOfGeorgia
                                                                     __________

In re Galardi
      ________________________________,                                                           Case No. ________________
                                                                                                           22-50035-JPS




                    TRANSFER OF CLAIM OTHER THAN FOR SECURITY
A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee
hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other
than for security, of the claim referenced in this evidence and notice.



 Christopher Kosachuk
______________________________________                                      Astrid E. Gabbe
                                                                            ____________________________________
          Name of Transferee                                                           Name of Transferor

Name and Address where notices to transferee                                Court Claim # (if known):
should be sent:                                                             Amount of Claim:          $57.00
 854 Pheasant Run Rd                                                        Date Claim Filed:      10/16/2023
 West Chester, PA 19382

        305-490-5700
Phone: ______________________________                                       Phone:
Last Four Digits of Acct #: ______________                                  Last Four Digits of Acct. #: __________

Name and Address where transferee payments
should be sent (if different from above):



Phone:
Last Four Digits of Acct #:



I declare under penalty of perjury that the information provided in this notice is true and correct to the
best of my knowledge and belief.

By:__________________________________                                       Date:____________________________
       Transferee/Transferee’s Agent


Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.
